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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Kevin Flicek, as Trustee                        Court File No. 16-cv-1031 PAM/DTS
for the Heirs and Next of Kin of
Sinthanouxay Khottavongsa,

                            Plaintiff,

vs.

City of Brooklyn Center, Police Officers
Alan Salvosa, Cody Turner, and Gregg Nordby,
acting in their individual capacities as
City of Brooklyn Center Police Officers,

                            Defendants.


      DEFENDANTS’ DEPOSITIONS IN LIEU OF LIVE TESTIMONY
________________________________________________________________________

      1. Deposition of Linda Miller (Exhibit A)

      The objections at pages 89:11, 93:11, 96:9, and 97:14 need to be ruled upon.


      2. Video Deposition of Randall Jackson (Exhibit B)

      The objections at page 10:2 needs to be ruled upon.

Defendants reserve the right to submit a video trial deposition for Dr. Samadani,

Mr. Kroll, or Mr. Brave if the trial schedule makes their physical attendance

impossible.
    CASE 0:16-cv-01031-PAM-DTS Document 105 Filed 07/16/18 Page 2 of 2



                                        IVERSON REUVERS CONDON

Dated: July 16, 2018                    By s/ Stephanie A. Angolkar
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